Case 10-14691-RGM            Doc 233      Filed 03/20/13 Entered 03/20/13 16:41:57              Desc Main
                                         Document      Page 1 of 4


                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                      (Alexandria Division)


    ---------------------------------------------------------------X
    In re:                                                          :   Chapter 11
                                                                    :
    Vincent Colbert                                                 :   No. 10-14691-RGM
    Margaret Theresa Adams-Colbert                                  :
                                                                    :
                      Debtors.                                      :
                                                                    :
    ---------------------------------------------------------------X


                            ORDER CONFIRMING CHAPTER 11 PLAN

             Upon consideration of the Chapter 11 Plan of Reorganization (the “Plan”, Docket

    Entry #208) filed by Vincent Colbert and Margaret Theresa Adams-Colbert (the

    “Debtors”), and there being no objections thereto, and upon consideration of the evidence

    and arguments presented to the Court at a hearing held on March 19, 2013, and it appearing

    that the relief granted herein is in the best interests of the bankruptcy estate, its creditors

    and other parties in interest; and upon due deliberation, good and sufficient cause

    appearing,

    IT IS HEREBY FOUND THAT:

             A. The Debtors properly served the Plan, the related Amended Disclosure

    Statement, an applicable ballot, the Order Approving Disclosure Statement and Notice of

    Hearing on Confirmation of the Plan on all creditors and other parties in interest

    consistent with the requirements of the Bankruptcy Code and the Bankruptcy Rules;




    Daniel M. Press, VSB# 37123
    Chung & Press, P.C.
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    (703) 734-3800
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Case 10-14691-RGM         Doc 233     Filed 03/20/13 Entered 03/20/13 16:41:57                Desc Main
                                     Document      Page 2 of 4


            B. Notice of the hearing on confirmation of the Plan was proper and no further

    notice is required.

            C. All parties in interest have had the opportunity to object to the relief granted by

    this Order.

            D. The Plan satisfies all of the requirements of Sections 1123 and 1129 of the

    Bankruptcy Code.

            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

    DECREED THAT:

            1.      To the extent that any objections have not been withdrawn or resolved by

    stipulation prior to the entry of this Order or are not resolved by the relief granted herein or

    as stated on the record of the hearing, all such objections are hereby OVERRULED.

            2.      As the modifications to the Plan as set forth in this Order have no adverse

    impact on creditors, no further notice or disclosure is required.

            3.      The DEBTORS’ CHAPTER 11 PLAN Dated December 17, 2012, is

    CONFIRMED, as modified herein. Paragraphs 3.11 and 3.12 of the Plan are deemed

    amended as follows:

            3.11 Class I (Suntrust secured claim on Valley Mill 354): The Class I secured
    claim has been, and shall be as of the effective date of the plan, valued under 11 U.S.C. §
    506(a) at $85,000, per order of the Court (Doc. #84). The balance of the claim
    ($55,455.24) shall be an unsecured Class M claim. The principal balance of the Class I
    claim, $85,000, shall be paid and amortized over 30 years with interest at 4.25% p.a. (360
    monthly payments of $418.15); except if Class I votes in favor of the Plan, the interest rate
    shall be 4.5%, for 360 monthly payments of $430.68. Tax and insurance escrows shall be
    paid in addition to the foregoing principal and interest payments to the same extent as
    required under the existing loan documents.
            3.12 Class J (Suntrust secured claim on Valley Mill 358): The Class J secured
    claim has been, and shall be as of the effective date of the plan, valued under 11 U.S.C. §
    506(a) at $100,000, per order of the Court (Doc. #84). The balance of the claim
    ($31,882.41) shall be an unsecured Class M claim. The principal balance of the Class J
    claim, $100,000, shall be paid and amortized over 30 years with interest at 4.25% p.a. (360



                                                   2
Case 10-14691-RGM        Doc 233     Filed 03/20/13 Entered 03/20/13 16:41:57              Desc Main
                                    Document      Page 3 of 4


    monthly payments of $491.94); except if Class J votes in favor of the Plan, the interest rate
    shall be 4.5%, for 360 monthly payments of $506.69. Tax and insurance escrows shall be
    paid in addition to the foregoing principal and interest payments to the same extent as
    required under the existing loan documents.


           4.      The Debtor is authorized and empowered to issue, execute and deliver such

    documents and instruments and to take such action as may be necessary to implement the

    Plan and the actions authorized by this Order.

           5.      Notwithstanding anything to the contrary, this Court retains jurisdiction in

    this bankruptcy case in accordance with the provisions set forth in Article V of the Plan.



            Mar 20 2013
    Dated: ___________                               /s/ Robert G. Mayer
                                                     _______________________
                                                     Judge, U.S. Bankruptcy Court

                       March 20, 2013
    Entered on Docket: ______________




                                                  3
Case 10-14691-RGM       Doc 233    Filed 03/20/13 Entered 03/20/13 16:41:57            Desc Main
                                  Document      Page 4 of 4


    I ASK FOR THIS:



    _/s/ Daniel M. Press _______
    Daniel M. Press, VSB 37123
    CHUNG & PRESS, P.C,
    6718 Whittier Ave., Suite 200
    McLean, VA 22101
    (703) 734-3800
    Counsel for the Debtors


                               Local Rule 9022-1(C) Certification

    The foregoing Order was endorsed by and/or served upon all necessary parties pursuant to
    Local Rule 9022-1(C).
                                               __/s/Daniel M. Press___
                                               Daniel M. Press
    Copies to:
    Debtors
    Counsel for Debtor
    All Creditors and Parties in Interest
    U.S. Trustee




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